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                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE

                                                             )
    In re:                                                   )   Chapter 11
                                                             )
    PGX HOLDINGS, INC., et al.,1                             )   Case No. 23-10718 (CTG)
                                                             )
                               Debtors.                      )   (Jointly Administered)
                                                             )
                                                             )
                                                             )   Related to Docket Nos. 422, 423, and 501

          SECOND SUPPLEMENTAL NOTICE OF DESIGNATION OF CERTAIN
        EXECUTORY CONTRACTS AND/OR UNEXPIRED LEASES AS “ASSUMED
           CONTRACTS” AND ASSUMPTION AND ASSIGNMENT THEREOF

                YOU ARE RECEIVING THIS NOTICE BECAUSE YOU
            OR ONE OF YOUR AFFILIATES IS A COUNTERPARTY TO AN
      EXECUTORY CONTRACT OR UNEXPIRED LEASE WITH ONE OR MORE OF
    THE DEBTORS, INCLUDING AS SET FORTH ON EXHIBIT A ATTACHED HERETO.

              PLEASE TAKE NOTICE that, on June 6, 2023, PGX Holdings, Inc. and its debtor
     affiliates, in the above-captioned chapter 11 cases (collectively, the “Debtors”) filed with
     the United States Bankruptcy Court for the District of Delaware (the “Court”) a motion
     [Docket No. 66] (the “Motion”)2 for the entry of an order (the “Bidding Procedures
     Order”) approving, among other things, bidding procedures in connection with the sale of
     substantially all of the Debtors’ assets, and on August 4, 2023, the Court entered the Bidding
     Procedures Order [Docket No. 331].

             PLEASE TAKE FURTHER NOTICE that, on August 4, 2023, pursuant to the
     Bidding Procedures Order, the Debtors filed and served the Notice to Contract Parties to
     Potentially Assumed Executory Contracts and Unexpired Leases [Docket No. 336], which
     included a list of potentially Assigned Contracts attached thereto as Exhibit A (the “Initial
     List of Potentially Assigned Contracts”).


1
      The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
      number, are:      PGX Holdings, Inc. (2510); Credit Repair UK, Inc. (4798); Credit.com, Inc. (1580);
      Creditrepair.com Holdings, Inc. (7536); Creditrepair.com, Inc. (7680); eFolks Holdings, Inc. (5213);
      eFolks, LLC (5256); John C. Heath, Attorney At Law PC (8362); Progrexion ASG, Inc. (5153); Progrexion
      Holdings, Inc. (7123); Progrexion IP, Inc. (5179); Progrexion Marketing, Inc. (5073); and
      Progrexion Teleservices, Inc. (5110). The location of the Debtors’ service address for purposes of these
      chapter 11 cases is: 257 East 200 South, Suite 1200, Salt Lake City, Utah 84111.
2
      Capitalized terms used but not otherwise defined herein have the meanings ascribed to them in the Bidding
      Procedures Order or the Sale Orders, as applicable



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           PLEASE TAKE FURTHER NOTICE that, on August 25, 2023, the Court entered
  orders [Docket No. 422 and 423] (together, the “Sale Orders”) approving (i) the Debtors’
  entry into and performance under each of the Stalking Horse Agreements and authorizing the
  sale of substantially all of the Debtors’ assets free and clear of all liens, claims, interest, and
  encumbrances and (ii) the assumption by the Debtors and the assignment and sale to the
  Progrexion Purchaser or Lexington Law Purchaser (as applicable, the “Purchaser”) of
  executory contracts and unexpired leases to be designated by the Purchaser as “Assumed
  Contracts” pursuant to the Sale Orders, the Progrexion APA, the Lexington Law APA, and
  sections 363 and 365 of the Bankruptcy Code, subject to, and effective as of, the closing of
  the Sale Transactions (the date of the closing being the “Closing Date”).

          PLEASE TAKE FURTHER NOTICE that, on September 11, 2023, the Debtors
  filed that certain First Supplemental Notice to Contract Parties to Potentially Assumed and
  Assigned Executory Contracts and Unexpired Leases [Docket No. 455] (the “First Amended
  Notice”), providing notice of supplemental changes made to the Initial List of Potentially
  Assigned Contracts.

          PLEASE TAKE FURTHER NOTICE that, on September 23, 2023, the Debtors
  filed that certain Second Supplemental Notice to Contract Parties to Potentially Assumed
  and Assigned Executory Contracts and Unexpired Leases [Docket No. 492] (the “Second
  Amended Notice”), providing notice of further supplemental changes made to the Initial
  List of Potentially Assigned Contracts, as modified by the First Amended Notice.

          PLEASE TAKE FURTHER NOTICE that, on September 23, 2023, the Debtors
  filed that certain Notice of Designation of Certain Executory Contracts and/or Unexpired
  Leases as “Assumed Contracts” and Assumption and Assignment Thereof [Docket No.
  493] (the “Designation Notice”), providing notice of the agreements to be assumed and
  assigned to the Purchaser in accordance with the Sale Orders, the Progrexion APA, the
  Lexington Law APA, and the approved contract designation process and upon the
  occurrence of the Closing Date.

          PLEASE TAKE FURTHER NOTICE that, on September 26, 2023, the Debtors
  filed that certain Third Supplemental Notice to Contract Parties to Potentially Assumed and
  Assigned Executory Contracts and Unexpired Leases [Docket No. 500] (the “Third
  Amended Notice”), providing notice of further supplemental changes made to the Initial
  List of Potentially Assigned Contracts, as modified by the First Amended Notice and the
  Second Amended Notice.

          PLEASE TAKE FURTHER NOTICE that on September 26, 2023, the Debtors
  filed the First Supplemental Notice of Designation of Certain Executory Contracts and/or
  Unexpired Leases as “Assumed Contracts” and Assumption and Assignment Thereof
  [Docket No. 501].

         PLEASE TAKE FURTHER NOTICE that, in accordance with the Sale Orders,
  the Progrexion APA, the Lexington Law APA, and the approved contract designation
  process, the Debtors hereby file and provide notice of additional agreement(s) to be assumed
  and assigned to Purchaser as an Assigned Contract, as reflected in Exhibit A attached hereto


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    (the “Supplemental Assigned Contracts”). The Counterparty to the Supplemental Assigned
    Contracts has provided its consent to the assumption and assignment of the Supplemental
    Assigned Contracts.

           PLEASE TAKE FURTHER NOTICE that, pursuant to the Sale Orders, the
    Progrexion APA, and the Lexington Law APA, the Purchaser has determined that the
    Supplemental Assigned Contracts set forth on Exhibit A attached hereto shall be
    assumed by the Debtors and assigned and sold to Purchaser and shall be designated as
    “Assumed Contracts” within the meaning of the Sale Orders, the Progrexion APA,
    and the Lexington Law APA, in each case subject to, and effective as of, the Closing
    Date (unless such other date is mutually agreed upon by the Debtors, the Purchaser, and the
    counterparty or counterparties to any such Contract).

            PLEASE TAKE FURTHER NOTICE that the Cure Amount for your Contract(s)
    shall be as previously noticed to you and as approved by the Court pursuant to the Sale
    Orders or as otherwise agreed upon by you and the Debtors and/or the Purchaser in writing
    except as indicated otherwise on Exhibit A.

            PLEASE TAKE FURTHER NOTICE that nothing herein (i) alters in any way the
    prepetition nature of the Assigned Contracts or the validity, priority, or amount of any claims
    of a counterparty to any Assigned Contracts against the Debtors that may arise under such
    Assigned Contract, (ii) creates a postpetition contract or agreement, or (iii) elevates to
    administrative expense priority any claims of a counterparty to any Assigned Contract
    against the Debtors that may arise under such Assigned Contract.3




3
     The Debtors reserve all rights to modify the Assigned Contracts attached hereto as Exhibit A, in accordance with the
     terms of the Sale Orders, the Progrexion APA, and the Lexington Law APA.



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Dated: December 28, 2023
Wilmington, Delaware

/s/ Michael W. Yurkewicz
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Co-Counsel to the Debtors and Debtors in         Co-Counsel to the Debtors and Debtors in
Possession                                       Possession




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                                               Exhibit A
                               Second Supplemental Assigned Contracts


           Policy Type         Policy Number          Effective Date           Insurer          Assignee Party4
         Life Insurance         FLX0966422               1/1/2015          Life Insurance        Credit.com
                                                                            Company of          Holdings, LLC
                                                                           North America
               Group             OK0967952               1/1/2015          Life Insurance        Credit.com
              Accident                                                      Company of          Holdings, LLC
               Policy                                                      North America
           Long Term             LC0964401               1/1/2015          Life Insurance        Credit.com
           Disability                                                       Company of          Holdings, LLC
             Policy                                                        North America
           Short Term            LK0751718               1/1/2015          Life Insurance        Credit.com
            Disability                                                      Company of          Holdings, LLC
             Policy                                                        North America




4
    The Insurer and the Purchaser reserve the right to modify the Assignee party by written agreement, including, but
    not limited to agreement via electronic mail.



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